      Case 3:18-cv-02309-S Document 28 Filed 01/24/19               Page 1 of 1 PageID 76


                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


 LYNN PHILLIPS,

 Plaintiff,                                                 Case No. 3:18-cv-02309-S

 v.
                                                        Honorable Judge Karen G. Scholer
 CSC SERVICEWORKS, INC. d/b/a
 APPLIANCE WAREHOUSE OF
 AMERICA, INC.,

 Defendant.



              AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

        IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff LYNN

PHILLIPS and the Defendant CSC SERVICEWORKS, INC. d/b/a APPLIANCE WAREHOUSE

OF AMERICA, INC., through their respective counsel that the above-captioned action is dismissed,

with prejudice, pursuant to Federal Rule of Civil Procedure 41. Each party shall bear its own costs

and attorney fees.


Dated: January 24, 2019                              Respectfully Submitted,

LYNN PHILLIPS                                        CSC SERVICEWORKS, INC.

/s/ Omar T. Sulaiman                                 /s/ Rebecca Schwartz (with consent)
Omar T. Sulaiman                                     Rebecca Schwartz
Counsel for Plaintiff                                Counsel for CSC Serviceworks, Inc..
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